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                                    SUPERIOR COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :                 CRIMINAL NO. 1-22-cr-149 (JEB)
                                    :
ATHANASIOS ZOYGANELES               :
                                    :
____________________________________:


                     CONSENT MOTION TO CONTINUE STATUS HEARING


          Athanasios Zoyganeles, through undersigned counsel, hereby moves this Court to continue

      the scheduled status hearing in the above-captioned proceeding. In support of this motion, Mr

      Zoyganeles states as follows:

      1. Mr Zoyganeles is before the Court pending sentencing following a guilty plea to count 4

          of the Information: Demonstrating or Picketing in a Capitol Building in violation of 40

          U.S.C. § 5104 (e)(2)(G). A status hearing is currently set for Wednesday 12 April 2023.

      2. Mr Zoyganeles entered his guilty plea on 1 July 2022. Sentencing was originally set for 30

          September 2022. On 3 August 2022, Mr Zoyganeles filed a motion to withdraw his guilty

          plea (ECF 23); the sentencing date was vacated. On 7 October 2022, the Court denied Mr

          Zoyganeles’ motion. Sentencing was set for 26 January, 2023.

      3. On 24 January 2023, then counsel for Mr Zoyganeles1 filed a Motion to Withdraw and a

          Motion to Continue Sentencing. Both were granted. Undersigned counsel was

          subsequently appointed 9 March 2023.

      4. The Court’s order denying Mr Zoyganeles’ Motion to Withdraw his guilty plea was without

          prejudice, but based essentially on Mr Zoyganeles’ lack of specificity of the issues


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    Allen Orenberg
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                    supporting that request. Undersigned counsel recognizes the need to fully explore the

                    matters of concern to Mr Zoyganeles, however, recent trial schedule has precluded the

                    appropriate research/investigation to fully brief this matter to the Court. An extension of

                    time is necessary to fully address the outstanding concerns.

                 5. Counsel has conferred with the government on this request. The government consents. The

                    parties envisage a 45-60 day period appropriate to resolve the outstanding issues here and

                    be in a position to move forward.

                 WHEREFORE, for the above reasons, the parties respectfully request that this Court grant this

                 Consent Motion to Continue Status Hearing in the above-captioned proceeding.



                                                         Respectfully Submitted,

                                                         /s/ Peter A. Cooper
                                                         Peter A. Cooper, (#478-082)
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                                                         Suite 350
                                                         Washington DC 20001
                                                         pcooper@petercooperlaw.com
                                                         Counsel for Athanasios Zoyganeles
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                                                CERTIFICATE OF SERVICE

                        I HEREBY CERTIFY that a copy of the foregoing Consent Motion to Continue Status
                 Hearing is being filed via the Electronic Court Filing System (ECF), causing a copy to be served
                 upon government counsel of record, this 11th day of April, 2023.

                                                             /s/ Peter A. Cooper
                                                             Peter A. Cooper
PeterCooperLaw




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